        Case 2:07-cv-03724-EEF-DEK
Case 2:07-cv-14174-JEM   Document 1 Document  1-2FLSD
                                     Entered on    Filed 09/04/07
                                                       Docket     Page 1 ofPage
                                                              06/08/2007   8    1 of 8
        Case 2:07-cv-03724-EEF-DEK
Case 2:07-cv-14174-JEM   Document 1 Document  1-2FLSD
                                     Entered on    Filed 09/04/07
                                                       Docket     Page 2 ofPage
                                                              06/08/2007   8    2 of 8
        Case 2:07-cv-03724-EEF-DEK
Case 2:07-cv-14174-JEM   Document 1 Document  1-2FLSD
                                     Entered on    Filed 09/04/07
                                                       Docket     Page 3 ofPage
                                                              06/08/2007   8    3 of 8
        Case 2:07-cv-03724-EEF-DEK
Case 2:07-cv-14174-JEM   Document 1 Document  1-2FLSD
                                     Entered on    Filed 09/04/07
                                                       Docket     Page 4 ofPage
                                                              06/08/2007   8    4 of 8
        Case 2:07-cv-03724-EEF-DEK
Case 2:07-cv-14174-JEM   Document 1 Document  1-2FLSD
                                     Entered on    Filed 09/04/07
                                                       Docket     Page 5 ofPage
                                                              06/08/2007   8    5 of 8
        Case 2:07-cv-03724-EEF-DEK
Case 2:07-cv-14174-JEM   Document 1 Document  1-2FLSD
                                     Entered on    Filed 09/04/07
                                                       Docket     Page 6 ofPage
                                                              06/08/2007   8    6 of 8
        Case 2:07-cv-03724-EEF-DEK
Case 2:07-cv-14174-JEM   Document 1 Document  1-2FLSD
                                     Entered on    Filed 09/04/07
                                                       Docket     Page 7 ofPage
                                                              06/08/2007   8    7 of 8
        Case 2:07-cv-03724-EEF-DEK
Case 2:07-cv-14174-JEM   Document 1 Document  1-2FLSD
                                     Entered on    Filed 09/04/07
                                                       Docket     Page 8 ofPage
                                                              06/08/2007   8    8 of 8
